17-05071-cag Doc#2 Filed 08/29/17 Entered 08/29/17 16:09:12 Stamped Summon Pg 1 of 1


                                                       U.S. Bankruptcy Court
                                                       Western District of Texas
    In re:
                                                                  Case No.15−52159−cag
                                                                  Chapter No.7
    JM OILFIELD SERVICE, INC.
    Debtor
                                                                  Adv. Proc. No.17−05071−cag
    JOSE RODRIGUEZ
    Plaintiff
    v.
    CTI METAL BUILDINGS, INC.
    Defendant



                                                SUMMONS IN AN ADVERSARY PROCEEDING


    YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summons to the Clerk of
    the Bankruptcy Court within 30 days from the date of issuance of this summons, except that the United States and its offices and
    agencies shall submit a motion or answer to the complaint within 35 days of issuance.



    Address of Clerk
                        Clerk, U.S. Bankruptcy Court
                        Western District of Texas
                        615 E. Houston St, Rm 597
                        San Antonio, TX 78205



    At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.



    Name and Address of Plaintiff's Attorney
                    Elliott S. Cappuccio
                    Pulman Cappuccio Pullen Benson & Jones
                    2161 NW Military Hwy, Suite 400
                    San Antonio, TX 78213



    If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

    IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
    JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
    DEMANDED IN THE COMPLAINT.




                 Date Issued:
                 08/29/2017


                                                                             Yvette M. Taylor, Clerk Of Court
